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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 NEWNAN DIVISION

IN RE:                                                           CASE NO: 17-11862

ELIZABETH ANN GLOVER AND THOMAS                                      CHAPTER 13
BENJAMIN GLOVER,

         Debtor(s)

Federal National Mortgage Association
       Movant,

v.
ELIZABETH ANN GLOVER AND THOMAS
                                                               CONTESTED MATTER
BENJAMIN GLOVER,
Debtor(s)
Melissa J. Davey, Trustee

    Respondents,

                      MOTION TO APPROVE LOAN MODIFICATION

         COMES NOW Federal National Mortgage Association (“Movant”), and through Counsel
files this “Motion to Approve Loan Modification,” showing this Honorable Court the following:


         1.     This Court has jurisdiction in this matter pursuant to 28 U.S.C. Sections 1334, 151
and 157.


         2.     This Court is the proper venue for this matter pursuant to 28 U.S.C. Section 1409.



         3.     This matter is a core proceeding as defined in 28 U.S.C. Section 157(b)(2)(D).


         4.     The Debtors filed the petition for relief in the above-styled Chapter 13 case on August
31, 2017.
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       5.      In their Chapter 13 schedules, the Debtors list an interest in real property located a
199 Coyote Trail, Waco, GA 30182.


       6.      The Debtors and Movant, the servicer for the mortgage lender, have reached an
agreement to modify the loan in accordance with the attached loan modification documents, which
are included in this motion as Exhibit A. The new principal balance of the loan will be $80,095.26
with a reduced interest rate of 4.000%, with the first payment under the loan modification being due
on December 1, 2017.



       7.      The Movant believes that the loan modification is in the best interests of the estate
and Debtors’ creditors, and that such a modification will assist in the effectuation of the Debtor's
financial reorganization.


       WHEREFORE, Movant prays:
       1.      That this Motion be filed, read and considered;
       2.      That this Motion be granted; and,
       3.      That this Court grant such other and further relief as is just and proper.

This 20th day of December, 2017

                                              Respectfully submitted,

                                              Brock and Scott, PLLC



                                              /s/ Mallory Velten
                                              Mallory Velten (GA. Bar No. 726971)
                                              Attorney for Movant
                                              Brock & Scott, PLLC
                                              4360 Chamblee Dunwoody Rd. Suite 310
                                              Atlanta, GA 30341
                                              Ph: 404-789-2661
                                              Fax: 404-294-0919
                                              bankruptcy@brockandscott.com
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                         CASE NO: 17-11862

ELIZABETH ANN GLOVER AND THOMAS                                    CHAPTER 13
BENJAMIN GLOVER,

         Debtor(s)

Federal National Mortgage Association
       Movant,

v.
ELIZABETH ANN GLOVER AND THOMAS
                                                             CONTESTED MATTER
BENJAMIN GLOVER,
Debtor(s)
Melissa J. Davey, Trustee

    Respondents,

                         NOTICE OF ASSIGNMENT OF HEARING

       PLEASE TAKE NOTICE that Federal National Mortgage Association, Inc., has filed a
motion to approve loan modification and related papers with the Court.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion
to approve loan modification at Second Floor Courtroom, U.S. Courthouse, 18 Greenville Street,
Newnan, Georgia at 9:20 AM on January 18, 2018.

        Your rights may be affected by the court's ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you or your attorney must attend the hearing. You may also file a written response to the
pleadings with the Clerk, but you are not required to do so. If you file a written response, you
must attach a certificate stating when, how and on whom (including addresses) you served the
response. Mail or deliver your response so that it is received by the Clerk at least two business
days before the hearing. You must also mail a copy of your response to the undersigned at the
address stated below.

       If a hearing on the motion to approve loan modification cannot be held within thirty (30)
days, Movant waives the requirement for holding a preliminary hearing within thirty days of
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filing the motion and agrees to a hearing on the earliest possible date. If a final decision is not
rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period.


This 20th day of December, 2017

                                               Respectfully submitted,

                                               Brock and Scott, PLLC



                                               /s/ Mallory Velten
                                               Mallory Velten (GA. Bar No. 726971)
                                               Attorney for Movant
                                               Brock & Scott, PLLC
                                               4360 Chamblee Dunwoody Rd. Suite 310
                                               Atlanta, GA 30341
                                               Ph: 404-789-2661
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IN RE:                                                        CASE NO: 17-11862

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Federal National Mortgage Association
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ELIZABETH ANN GLOVER AND THOMAS
BENJAMIN GLOVER,                                            CONTESTED MATTER
Debtor(s)
Melissa J. Davey, Trustee

    Respondents,
                              CERTIFICATE OF SERVICE

This is to certify that I have this day served the foregoing Motion to Approve Loan Modification
and Notice of Hearing via electronic service if applicable or by depositing in the United States
mail a copy of same in a properly addressed envelope with adequate postage affixed thereon to
assure delivery to:

Elizabeth Ann Glover
Thomas Benjamin Glover
199 Coyote Trail
Waco, GA 30182

John T. Dufour
527 Newnan Street
Carrollton, GA 30117

Melissa J. Davey
Suite 200
260 Peachtree Street NW
Atlanta, GA 30303

                                             Brock and Scott, PLLC


                                             /s/ Mallory Velten
                                             Mallory Velten (GA. Bar No. 726971)
                                             Attorney for Movant
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